Case 1:20-cv-04178-LDH-LB Document 41 Filed 11/21/23 Page 1 of 3 PageID #: 199

                       MILMAN LABUDA LAW GROUP PLLC
                                      3000 MARCUS AVENUE
                                            SUITE 3W8
                                     LAKE SUCCESS, NY 11042
                                             _________

                                     TELEPHONE (516) 328-8899
                                     FACSIMILE (516) 328-0082
                                                                           November 21, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. LaShann DeArcy Hall, U.S.D.J.
225 Cadman Plaza East
Courtroom 4H North
Brooklyn, NY 11201-1804

       Re:     Calle v. Pizza Palace Cafe LLC, et al.
               Case No.: 1:20-cv-4178 (LDH) (LB)__

Dear Judge Hall:

        This office represents the Defendants Sasha Ishaqov, Yuri Ishaqov, and Vlady Djouraev
(hereinafter the “Individual Defendants”) in the above-referenced case. Defendants write, with
Plaintiff’s consent, to respectfully request that this Court vacate the default judgment entered in
this case on January 31, 2022 pursuant to Rule 60 of the Federal Rules of Civil Procedure
(hereinafter referred to as “Rules” or “Rule”), and for an extension of time until Friday, January
19, 2024 to respond to the complaint in this case pursuant to Rule 6. The parties also jointly request
a mediation referral Order pursuant to Local Civil Rule 83.8 of the Local Rules of the United States
District Courts for the Southern and Eastern Districts of New York (hereinafter “Local Civil
Rules” or “LCR”).

This Court Should Vacate the Default Judgment

        Rule 60 provides that, on motion and just terms, the court may relieve a party or its legal
representative from a final judgment, order, or proceeding because of mistake, inadvertence,
surprise, or excusable neglect. See Fed. R. Civ. P. 60(b)(1). In this case, the Individual Defendants
aver that they were never properly served and had no knowledge of this case until judgment
enforcement action was taken less than two (2) weeks ago. Upon learning of this suit, your
undersigned was retained and contacted Plaintiff. While Plaintiff maintains that service in this
case was proper, in order to avoid motion practice, the parties have entered into the annexed
stipulation vacating the default judgment, among other things. Based on the foregoing, it is
respectfully submitted that this Court should “so Order” the stipulation.

This Court Should Exercise its Discretion in Favor of Extending Defendants’ Time to Answer

       Consistent with Section I(E) of this Court’s Individual Practices, the Individual Defendants
submit that:

              (a) the original deadline to respond to the complaint has long ago expired in or
about October 2020;
Case 1:20-cv-04178-LDH-LB Document 41 Filed 11/21/23 Page 2 of 3 PageID #: 200




                (b) an extension of time is necessary because the Individual Defendants’ position
is that they were never properly served and now wish to defend this case on the merits upon
learning of the existence of this case;

               (c-d) there have no previous requests for an extension of time to respond to the
Plaintiff’s complaint;

              (e) Plaintiff consents to the instant requested extension, as is evidenced by the
attached executed stipulation; and

               (f) The Individual Defendants are unaware of any other scheduled dates affected by
the requested extension of time.

       Accordingly, the Individual Defendants respectfully submit that there is good cause and
excusable neglect for this Court to exercise its discretion in favor of granting the requested
extension of time. See Fed. R. Civ. P. 6(b)(1)(B).

This Court Should Enter a Mediation Referral Order

        The parties jointly request a mediation referral Order pursuant to Local Civil Rule 83.8.
Rule 1 requires the court and the parties to construe, administer, and employ the Rules to secure
the just, speedy, and inexpensive determination of every action and proceeding. See Fed. R. Civ.
P. 1. Moving forward with litigation in this case will be costly and time-consuming. Accordingly,
this Court should grant the parties’ joint request such that they may work towards resolving this
case, especially in light of the fact that the Individual Defendants have not been involved in the
business that employed the Plaintiff for over two (2) years.

       The Individual Defendants thank this Court for its time and attention in this case.

Dated: Lake Success, New York
       November 21, 2023                     Respectfully submitted,

                                             MILMAN LABUDA LAW GROUP PLLC

                                             __/s/ Emanuel Kataev, Esq.______________
                                             Emanuel Kataev, Esq.
                                             3000 Marcus Avenue, Suite 3W8
                                             Lake Success, NY 11042-1073
                                             (516) 328-8899 (office)
                                             (516) 328-0082 (facsimile)
                                             emanuel@mllaborlaw.com

                                             Attorneys for Defendants
                                             Sasha Ishaqov,
                                             Yuri Ishaqov, and
                                             Vlady Djouraev



                                                2
Case 1:20-cv-04178-LDH-LB Document 41 Filed 11/21/23 Page 3 of 3 PageID #: 201


VIA ECF
CSM LEGAL, P.C.
Attn: Jesse Barton and Mary Bianco, Esqs.
One Grand Central Place
60 East 42nd Street, Suite 4510
New York, NY 10165-0002
(212) 317-1200 (office)
(212) 317-1200 (facsimile)
jbarton@csm-legal.com
mary@csm-legal.com

Attorneys for Plaintiff
Hitler Calle




                                            3
